Case: 1:21-cv-01448 Document #: 65 Filed: 07/12/23 Page 1 of 17 PagelD #:293 SM

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JUL 12 2023 lea
UNITED STATES DISTRICT COURT THOMAS G. BRUTON
NORTHERN DISTRICT OF ILLINOIS

CLERK, U.S. DISTRICT COURT
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Plaintiffs

Case Number: / : Al-cV—O1Y44h

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MOTION FOR ATTORNEY REPRESENTATION

(NOTE: Failure to complete all items may result in the denial of this motion. )
:

I, —, declare that I am the (check appropriate box)
Bxplaintift O defendant in this case dnd that Tam unable to afford the services of an
attorney. | hereby ask the Court for an attorney to represent me in this case.

2. I declare that [ have contacted the following attorneys/organizations seekin repkesentation:

(NOTE: This item must be completed.) < ce an rth iA hy.

but | have been ia | find an attorney asl a Ec ureenrtdy f, Ye (
DN AQ) Te lle WE Apld ¢ € b - :
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doth | | |
3 I declare that (check all that apply): AitA thority 6
(Noyes)
Tam not currently represented by an attorney requested by the Court in any federal
criminal or civil case.
OR
Tam currently represented by an attorney requested by the Court in a federal criminal
or civil case. The case is described on the back of this page.

(Earlier: )

Thave not previously been represented by an attorney requested by the Court in any
federal criminal or civil case.

OR
I have previously been represented by an attorney requested by the Court in a federal
criminal or civil case. The case is described on the back of this page.
4 1 declare that (check one):

[ have attached an original Application for Leave to Proceed In Forma Pauperis

detailing my financial a hac Ke 5 ny rocfel)
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(If you need additional Space for ANY section, please attach an additional sheet and reference that section.]
Case: 1:21-cv-01448 Document #: 65 Filed: 07/12/23 Page 2 of 17 PagelID #:294

i [!t you need additional space for ANY section, please attach an additional sheet and reference that section.]

I have previously filed an Application for Leave to Proceed In Forma Pauperis in this
case, and it ts still true and correct.

I have previously filed an Application for Leave to Proceed In Forma Pauperis in this
case. However, my financial status has changed and I have attached an Amended
Application to Proceed In Forma Pauperis to reflect my current financial status.

O Grammar school QO Some high school QO High school graduate
EX Some college QD College graduate QO Post-graduate

I declare that my ability to speak, write, and/or read English is limited because
English is not my primary language. (Check only if applicable.)

I declare that this form and/or other documents in this case were prepared with the

help of an attorney from thg U.S. District Court Pre Se Assistance Program. (Check /
oie * -” A ; &
only if applicable. ) LA FB UT his Sure gu YFo2e} it }
| declare under penalty of perjury that the foregoing is true and correct. A e /Clos 4
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City, State, Zip

S K] I declare that my highest level of education is (check one):

Date

Other cases in which an attorney requested by this Court has represented me:

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Case Name: eter” ak aS tnd lS ENO re

Attorneys Name: __ ___ This case is still pending O Yes O No

[he appointment was limited to settlement assistance: O Yes No

Case Name: Mf Case No.:

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Attorney’s Name: | ____ This case is still pending O Yes ONo

Ihe appointment was limited to settlement assistance: O Yes ONo

Case Name: fh ® etch ee Mase Mere

Attorney's Name: ea he ___. This case is still pending O Yes ONo
| The appointment was limited to settlement assistance: O Yes O No

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[If you need additional space for ANY section, please attach an additional sheet and reference that section. ]
Case: 1:21-cv-01448 Document #: 65 Filed: 07/12/23 Page 3 of 17 PagelD #:295

Office 2096

SS TTT TT ICO a
From: Hibbler <hibbler@legalaidchicago.org>
Sent: Monday, April 10, 2023 2:10 PM
To: Office 2096
Subject: [EXTERNAL] Hibbler Help Desk Appointment Follow Up
Attachments: Referrals for People Without Lawyers.pdf; Motion for Attorney Representation.pdf
a
Caution! This email originated outside of FedEx. Please do not open attachments or click links from an unknown
or suspicious origin.
Hello Christel,

| am following up on your Hibbler Help Desk appointment from March 29'". Please see tha attached
documents that the volunteer attorney discussed. These documents include:

e Referrals for People without Lawyers if
p- O¢

Ye Motion for Attorney Representation

You may ale want to try reaching out to the Chicago Bar Lawyer a Service at (312) 554-
2001 or Irs. chicagobar.org. The have a $30 consultation fee (additional fees after).

Best,

Ella (She, Her, Hers)

Help Desk Coordinator, Legal Aid Chicago
William J. Hibbler Memorial Pro Se Assistance
312-261-6757

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GENIUS BAR Chine Back,

Please retain this document for your records.

Jun 3, 2023 Apple Orland Square
Genius Bar Work Authorization

Tel: 708-645-5401
LUAU Fit wee

Repair No : R581868962
Customer Information

Christel VanDyke
United States

Problem Description/Diagnosis

issue: Device needs to be erased.

Steps to Reproduce: Verified issue in store visually.

Phone says data recovery unavailable, need to erase to be able to get into the phone.

Cosmetic Condition: Multiple cracks in bottom left corner of display.

Proposed Resolution: Informed customer due to device being stuck in data recovery, it needs to be erased.

Informed customer that it would get stuck in data recovery after the phone updates.

Customer knows Apple ID password, after erasing device we can sign customer back into device and get information back.
Resolution: Service Solution

Reason: Other

Contact Apple Support Case: 102012137862

Repair Estimate

Item Number Description Price Amount Due Customer
KBB

Total (Tax not included) $ 0.00 $ 0.00

The above estimate does not include applicable taxes. Taxes will be calculated at the time of payment.

By signing below, | agree that:
+ the Repair Terms and Conditions on the reverse side of this page will apply to the service of the product identified above;

+ as unintentional loss of data may occur as a result of the service it is my responsibility to make a backup copy of my data before bringing
my product to Apple for service;

- Apple is not responsible for any loss or corruption of the data on my product during service; and

+ Apple may use parts or products that are new or equivalent to new in reliability and performance.

Customer Name: Received By:

Signature: Date:

Important! See Terms and Conditions on the back.
800-APL-CARE, www.apple.com/support

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Case: 1:21-cv-01448 Document #: 65 Filed: 07/12/23 Page 11 of 17 PagelD #:303

GENIUS BAR

Please retain this document for your records.

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Jun 11, 2023

ACE

Repair No : R582749206
Customer Information

Christel VanDyke
P.O. Box
Orland pk IL 60462 United States

Problem Description/Diagnosis

Resolution: Service Referral
| Reason: Contact Apple Support

Repair Estimate

item Number Description

Apple Orland Square
Tel: 708-645-5401

Genius Bar Work Authorization

Issue: Comments: Customer was unable to get into previous iCloud account. Could not retrieve her main iCloud account, had
to use a secondary iCloud account. Lost all previous legal documents off of main iCloud account.
Comments: Message was sent off of customer’s phone number when the phone was inoperative on May 14th of 2023.

Price Amount Due Customer
KBB

$ $

Total (Tax not included) $ 0.00 $ 0.00

The above estimate does not include applicable taxes. Taxes will be calculated at the time of payment.

By signing below, | agree that:

+ the Repair Terms and Conditions on the reverse side of this page will apply to the service of the product identified above;

| * as unintentional loss of data may occur as a result of the service it is my responsibility to make a backup copy of my data before bringing

my product to Apple for service;

- Apple is not responsible for any loss or corruption of the data on my product during service; and

|

| » Apple may use parts or products that are new or equivalent to new in reliability and performance.
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| Customer Name:

Signature:

Important! See Terms and Conditions on the back.

800-APL-CARE, www.apple.com/support

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Received By:

Date:

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Case: 1:21-cv-01448 Document #: 65 Filed: 07/12/23 Page 12 of 17 PagelD #:304

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kK GENIUS BAR é

Please retain this document for your records.

Jun 11, 2023

AAA

Repair No : R582747460
Customer Information

Apple Orland Square
Tel: 708-645-5401

Genius Bar Work Authorization

Christel VanDyke
United States

Problem Description/Diagnosis

Issue: Customer has safety concerns over an account and phone number that was compromised.
Steps to Reproduce: Conversed with customer about previous visits to the Apple Store and their history with the compromised

Cosmetic Condition: Crack on the bottom right of the display

Proposed Resolution: After talking with the customer, advised her to contact her local authority for any safety concerns and
contact Apple Support to submit an escalation.

Resolution: Service Referral

Reason: Contact Apple Support

Contact Apple Support Case: 102017630083

Repair Estimate

Item Number Description Price Amount Due Customer
KB8

$ $
Total (Tax not included) $ 0.00 $ 0.00

The above estimate does not include applicable taxes. Taxes will be calculated at the time of payment,

By signing below, | agree that:
+ the Repair Terms and Conditions on the reverse side of this page will apply to the service of the product identified above;

* as unintentional loss of data may occur as a result of the service it is my responsibility to make a backup copy of my data before bringing
my product to Apple for service;

+ Apple is not responsible for any lass or corruption of the data on my product during service; and

+ Apple may use parts or products that are new Or equivalent to new in reliability and performance.

Customer Name: Received By:

Signature: Date:

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Important! See Terms and Conditions on the back.
800-APL-CARE, www.apple.com/support

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5/11/23, 2:00 par ase: diet Cy ao LA ecepopument + Be eae weiRcy ci g

ITG ~ Retail Truck Roll Request Completed

Only warm transfer this issue to advanced support teams if
instructed by the ITG. If the customer needs additional assistance,

handle the call or transfer if outside of your job function (Sales,
Loyalty, etc).

HOW THE CONVERSATION STARTED

Problem
Failing Wan Score

WHAT WE DID

1 CR Ticket Generated & 1 Trouble Call Scheduled

CR Ticket #CR089230076
Status a.

Problem Failing Wan Score _
Solution Description of ae

Show Details

Trouble Call Scheduled

Date Friday, May 12
Time 10:00 AM-12:00 PM CDT
Address 12233 S MCDANIELS ST APT 1

ALSIP,IL 60803

Show Details

Back to Einstein

https://einstein360.cable.comcast.com/E360 Toolkits/GenericPopup/GenericPopup?Region=4266&sourceApp=Einstein360&userRole=Einstein Service... 1/1

